     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 1 of 13



              IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA

NATIONAL RIFLE ASSOCIATION                    )
OF AMERICA, INC, et al.,                      )
                                              )
                   Plaintiffs,                ) Civil Action No. 4:18-cv-137-MW-
                                              ) CAS
      v.
                                              )
PAM BONDI, et al.,                            )
                                              )
                   Defendants.                )


              REPLY IN SUPPORT OF PLAINTIFFS’
           MOTION TO PROCEED UNDER PSEUDONYMS

      Defendants declare that “[a] decent society will not tolerate threats or acts of

violence directed against litigants who seek to vindicate constitutional rights.”

Response in Opposition 19-20 (May 4, 2018), Doc. 28 (“Opp.”). For this very

reason, despite the “presumption of openness in judicial proceedings,” the courts

have allowed parties to appear pseudonymously when identifying them to the

public would pose a realistic threat to their safety or expose highly sensitive,

personal information. Plaintiff B v. Francis, 631 F.3d 1310, 1315-16 (11th Cir.

2011). Ultimately, the choice to allow parties to remain anonymous lies in the

discretion of the Court, based on an analysis of “all the circumstances of a given

case.” Id. at 1316. Defendants fail to show that the circumstances of this case

warrant exposing the 19-year-old private citizens who wish to participate in this

case to the harassment and threats that, Plaintiffs have shown, would almost

                                          1
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 2 of 13



certainly be inflicted upon them if they are publicly identified with this highly

controversial litigation in the current political environment.

      1.     As Defendants note, the context of this case cannot be understood

apart from the tragic February 14 shooting at Marjory Stoneman Douglas High

School and its aftermath. That event not only led to the enactment of the ban

challenged in this case; it was the catalyst for a nationwide effort to restrict the

possession and use of firearms. Funded by a group of well-heeled anti-gun

organizations, activists have barnstormed the country advocating restrictions on the

right to keep and bear arms. Alan Blinder et al., In Gun Control Marches, Students

Led but Adults Provided Key Resources, N.Y. TIMES, Mar. 25, 3018,

https://goo.gl/nqS4sc. Anti-gun forces have also pushed coordinated secondary

boycotts not only of the NRA but of any business that does not take a sufficiently

hard line against firearms. Tiffany Hsu, Big and Small, N.R.A. Boycott Efforts

Come Together in Gun Debate, N.Y. TIMES, Feb. 27, 2018, https://goo.gl/TW2qhe.

In the current environment, it is difficult to think of a topic as controversial and

contentious as Second Amendment rights.

      Nowhere has the controversy generated more heat than in Florida, ground

zero of the current anti-gun movement. As detailed in the declaration submitted

along with Plaintiffs’ motion, the NRA’s spokesperson in Florida has been

subjected to an extraordinary level of harassment and threats. Defendants do not

                                          2
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 3 of 13



mention the scores of threatening emails and phone calls directed against Ms.

Hammer until the very end of their brief, and even then they do not seriously

grapple with the nature of the harassment. Anti-gun individuals have called Ms.

Hammer “a vile c*nt,” have said she “should have been one of the victims” of the

shooting, and have expressed “hope [that] it’s someone in your family looking

down the barrel of a gun or shot in the back trying to flee some great Floridian.”

Ex. 1 to Hammer Declaration, Doc. 20-3, at 1, 10, 11.

      It is no wonder, then, that when Ms. Hammer began searching for Florida

citizens willing to vindicate their Second Amendment rights in this lawsuit, many

were “afraid of the harassment and threats they would be exposed to” and “refused

to participate because of these concerns.” Hammer Declaration ¶ 6. Nor can

Defendants plausibly contest that it is reasonable for Ms. Doe and Mr. Doe to share

those fears. Declaration of Jane Doe ¶ 4, Doc. 20-1; Declaration of John Doe ¶ 4,

Doc. 20-2. Given the overwhelmingly anti-gun political environment and the

threats and harassment Ms. Hammer has already suffered, who can blame them?

      Defendants are thus wrong to suggest that if Plaintiffs’ motion is denied, the

NRA could easily find another member “who has standing to sue and is willing to

file suit in his or her own name.” Opp.13. This argument wholly ignores Ms.

Hammer’s declaration testimony that those she approached about the litigation

repeatedly expressed the same concerns as Jane and John Doe. And what is more,

                                         3
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 4 of 13



even if the argument is accepted at face value, the fact that some other individual

might be willing to subject herself to threats and intimidation hardly negates the

harm Jane and John Doe will have suffered by being shunned away from the

courthouse door.

      Florida argues that although Ms. Hammer has been subjected to “harassing

and threatening emails in the last few months,” there is no cause for concern that

Jane and John Doe will face similar threats, because they “are not situated

similarly to Ms. Hammer.” Opp.19. But the differences between their situations

heighten the concern of harassment. As Defendants themselves note, “Ms.

Hammer is not a plaintiff in this lawsuit, and [some] of the e-mails she has

received . . . are dated well before the NRA filed its complaint on March 9.” Id. It

hardly takes an inferential leap to conclude that after the filing of this lawsuit—

which has garnered intense national-news attention1—similar harassment will be

trained upon the very individuals in whose name the lawsuit will be prosecuted.

      Defendants’ suggestion that the plaintiffs here “face no greater threat of

harm than the typical plaintiff alleging violations of Second Amendment Rights,”

Opp.12 (quotation marks omitted), thus cannot be taken seriously. To begin, courts

      1
         See, e.g., Steve Almasy, NRA sues Florida to block part of new gun law,
CNN.com, Mar. 9, 2018, https://goo.gl/GmYzXj; Christopher Ingraham, NRA sues
Florida over plan to put age limits on rifle purchases, WASH. POST, Mar. 1, 2018,
https://goo.gl/wvNopU; Florida shooting: NRA sues as Florida enacts gun-control
law, BBC, Mar. 10, 2018, https://goo.gl/cYDyfj.

                                         4
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 5 of 13



have granted leave to proceed pseudonymously in Second Amendment cases, and

Defendants are wrong to suggest otherwise. See Order, John Doe. No. 1 v. Putnam

Cty., 16-cv-8191 (S.D.N.Y. Oct. 21, 2016). But in any event, Plaintiffs of course

do not contend that “all litigants seeking to vindicate Second Amendment rights

should be allowed to proceed pseudonymously.” Id. at 13. Much less do we

suggest that anonymous pleading must be granted “in every case involving an

arguably controversial issue.” Id. at 18. Rather, our submission is that in a lawsuit

concerning this issue (which is not simply “arguably” controversial), pending in

this State (the epicenter of the #parkland movement), in the present political

climate (the most anti-gun moment in recent memory), two nineteen-year-olds

should be allowed to vindicate their constitutional rights in court without being

subjected to a flood of e-mails and phone calls calling them “f*cking piece[s] of

sh*t,” comparing them to “ISIS” and “serial killer[s],” and expressing the wish that

they “[r]ot in hell.” Ex. 1 to Hammer Declaration, Doc. 20-3, at 4, 6, 14.

      2.     Florida is wrong to argue that Plaintiffs’ request for leave to proceed

anonymously fails because Plaintiffs do not “identify a ‘substantial privacy right’

that would be protected by their request to proceed anonymously.” Opp.5. To be

sure, leave to proceed under a pseudonym may only be granted where “the plaintiff

has a substantial privacy right which outweighs the customary and constitutionally-

embedded presumption of openness in judicial proceedings.” Doe v. Frank, 951

                                          5
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 6 of 13



F.2d 320, 323 (11th Cir. 1992) (quotation marks omitted). But the cases make clear

that rather than an independent “threshold” requirement, as Defendants insist,

determining whether such a “substantial privacy right” exists is merely the

conclusion of the court’s inquiry into the three Plaintiff B factors and “all the

circumstances of a given case.” Id. Plaintiffs’ “substantial privacy right” is thus

merely the right not to be publicly identified as plaintiffs in litigation (1) which

would associate them with a highly charged and volatile political issue and thus

likely subject them to harassment and intimidation, and (2) where the tangible

prejudice to the other side caused by their anonymity is (as discussed below)

negligible.

      Defendants cite to Florida Action Comm., Inc. v. Seminole Cty., 2016 WL

6080988, at *1 (M.D. Fla. Oct. 18, 2016), but that case does not help them. In

Florida Action Committee, the plaintiff membership organization challenged a

local ordinance restricting certain activities by registered sex offenders, and it

asked the court to allow certain of its members to participate in the litigation

anonymously. But as the Florida Action Committee court noted, because the

individuals in question were registered sex offenders, by definition their “identities

and the crimes leading to their registration . . . are already matters of public

record,” such that “revealing [their] identities does not constitute the disclosure of

intimate information.” Id. at *2. That case thus bears no resemblance to the

                                          6
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 7 of 13



circumstances here. And in any event, because the nature of the test governing

pseudonymous pleading is so context-dependent, as Florida Action Committee

itself notes, “[t]he mere fact that a person proceeded anonymously in one case is

not helpful in determining whether a person should be permitted to proceed

anonymously in another case.” Id.

      Florida also makes much of the fact that Section 1983 itself “establishes no

exception to the general principle that the identity of the parties to a lawsuit should

not be concealed.” Opp. 13. That is beside the point. While an “express

congressional grant of the right to proceed anonymously,” id., would be sufficient

to warrant pseudonymous pleading, such statutory language plainly is not

necessary—otherwise, Plaintiff B and all of the other cases in that line would have

come out the other way. And as shown in our opening memorandum, Florida law

does recognize and vigorously protect the important privacy rights of gun owners

in maintaining anonymity. See FLA. STAT. §§ 790.0601, 790.335(1)(a)(2), (2).

Defendants assert that these statutory protections “do not support” Plaintiffs’

privacy interests in this case, but they utterly fail to explain why. Opp.7.

      Defendants dispute the notion that broadcasting Plaintiffs’ identities would

violate their “substantial privacy right[s].” Plaintiff B, 631 F.3d at 1315, 1316.

They argue that “every litigant in every lawsuit is ordinarily required to divulge

such identifying information.” Opp.6. But they emphasize the wrong words.

                                           7
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 8 of 13



Plaintiffs nowhere dispute the ordinary “presumption in favor of parties’

proceeding in their own names.” Plaintiff B, 631 F.3d at 1315. The fact remains

that “the rule is not absolute,” and that this Court has discretion to allow

pseudonymous pleading after a “careful[ ] review [of] all the circumstances.” Id. at

1316. Here, for the reasons shown in our opening memorandum, those

circumstances establish that Plaintiffs’ have a “substantial privacy right” to remain

anonymous in the context of this litigation.

      3.     Finally, Defendants wholly fail to show any clear and present

prejudice that would flow from allowing pseudonymous pleading. Though

Defendants suggest otherwise, see Opp.14 (suggesting that the inquiry “does not

turn on . . . prejudice [to] other parties to the litigation”), this factor obviously must

strongly inform this Court’s “review [of] all the circumstances of [the] case,”

Plaintiff B, 631 F.3d at 1316.

      As an initial matter, the very fact that Defendants are state officials

representing the Government powerfully demonstrates that the ordinary risk to

private defendants’ “good names and reputation” simply is not present here. Frank,

951 F.2d at 323-24. Florida resists this conclusion, suggesting that this

consideration is entitled to no weight. Opp.9. But that approach would drain all

meaning from one of the three factors that the Eleventh Circuit has expressly

instructed courts to consider when weighing a request to proceed pseudonymously.

                                            8
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 9 of 13



If the fact that the defendants are government officers does not count in the

calculus, it is difficult to see why the Eleventh Circuit has deliberately enumerated

it as one of the three “circumstances common to the ‘Doe cases.’ ” Frank, 951 F.2d

at 323. At the very least, this fact indicates that the reputational factors that most

commonly undergird the ordinary presumption of openness simply do not obtain in

this context.

      Florida continues that it “must know who Jane Doe is to assess whether she

currently has, and continues to maintain, standing to prosecute this action.”

Opp.15. Wrong again. The facts Jane Doe alleges in the proposed Amended

Complaint either do or do not establish her standing; either way, at this stage in the

litigation those facts must be taken as true—with respect to standing no less than

any other issue. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (standing

“must be supported in the same way as any other matter on which the plaintiff

bears the burden of proof, i.e., with the manner and degree of evidence required at

the successive stages of the litigation”). And Defendants’ contention that they

“must know who Jane Doe is . . . in order to assess potential defenses to her two

as-applied claims,” Opp.16, gets them no further. For purposes of Defendants’

Answer or Motion to Dismiss, they simply must take Jane Doe’s allegations as

they find them, in analyzing the merits of her as-applied claim. There is no place in

the rules for engaging in “appropriate discovery” on such factual issues, id., at this

                                          9
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 10 of 13



stage in the litigation. And in all events, Jane Doe’s as-applied claim—brought on

behalf of all women subject to Florida’s ban—is almost certain to turn on

“legislative” facts concerning the justification for the ban, not “adjudicative” facts

pertaining to Jane Doe’s specific identity and activities.

      To be sure, it is conceivable that the litigation will in the future develop in

such a way that Defendants will need to learn Jane and John Doe’s identities.

Given the course Second-Amendment challenges of this nature generally take,

Plaintiffs are highly skeptical that such a scenario will occur. And in any event,

there will be time enough to tailor an appropriate mechanism to accommodate any

such need Defendants may develop if and when it materializes. The mere future

possibility that “Defendants may seek to argue” claims or defenses that make Jane

and John Doe’s identities material, id. (emphasis added) cannot justify the present

harm that would be caused by stripping Plaintiffs of their anonymity.

       For example, as Plaintiffs indicated in their opening brief, should their

identities become material to the litigation they would be willing to consider

sharing them with Defendants on an attorneys’-eyes-only basis. Defendants

maintain that “[t]he attorney-client relationship [would be] impaired” by such a

tailored solution, Opp.16, but whatever the force of that rejoinder in the context of

private litigation, surely it carries diminished weight here, where defendants’

counsel are the Solicitor General and other attorneys in his office representing state

                                          10
     Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 11 of 13



officials sued in their official capacities. Moreover, an attorneys’-eyes-only

limitation is a standard feature of protective orders. See, e.g., Sony Computer

Entm’t Am., Inc. v. NASA Elecs. Corp., 249 F.R.D. 378, 383 (S.D. Fla. 2008).

      Defendants’ are thus left bottoming their claim of prejudice on the fact that

an attorneys’-eyes-only disclosure would “needlessly complicate the conduct of the

proceedings.” Opp. 17; see also id. at 16 (such an approach would be

“compicat[ed]” by “state public-records requirements”). Here again, that claim

ignores the reality that such limitations are a commonplace feature of protective

orders and have not been found to unduly complicate litigation. Moreover, if “[a]

decent society will not tolerate threats or acts of violence directed against litigants

who seek to vindicate constitutional rights,” id. at 19–20, surely that society can

call upon the State’s legal representation to suffer through these types of minor

inconveniences in the name of protecting against such threats and violence.

      Finally, while the State is right to note that the presumption of openness also

“protects the public’s legitimate interest in knowing all of the facts involved,” Roe

v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 685 (11th Cir. 2001), it fails

to explain how that legitimate interest will be appreciably advanced by publicizing

the types of specific facts at issue here: Plaintiffs’ names, addresses, and other

identifying information. Whether or not Plaintiffs remain anonymous, the public

will still be able to access the public filings in the case, read and assess the

                                          11
    Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 12 of 13



competing legal and factual arguments that the parties bring to bear, and stay

abreast of all meaningful, public developments in the case. Additionally

publicizing the specific identifying information at issue here would only enable the

very type of harassment and threatening communications that Plaintiffs have a

“substantial privacy right” in avoiding. Plaintiff B, 631 F.3d at 1316.

                                 CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully urge the Court to grant their

Motion for Leave To Proceed Under Pseudonyms.



     Dated: May 7, 2018                       Respectfully submitted,


    David H. Thompson, Bar No.                s/ Kenneth Sukhia
      6319891                                 Kenneth Sukhia, Bar No. 266256
    John D. Ohlendorf*                        C. Vincent LoCurto, Bar No. 0041040
    Davis Cooper, Bar No. 114059              SUKHIA & WILLIAMS LAW GROUP, PLLC
    COOPER & KIRK, PLLC                       902 N. Gadsden Street
    1523 New Hampshire Avenue, N.W.           Tallahassee, Florida 32303
    Washington, D.C. 20036                    (850) 383-9111
    (202) 220-9600                            ksukhia@sukhiawilliamslaw.com
    (202) 220-9601 (fax)
    dthompson@cooperkirk.com

      *Appearing pro hac vice

                                  Attorneys for Plaintiffs




                                         12
    Case 4:18-cv-00137-MW-CAS Document 31 Filed 05/07/18 Page 13 of 13



                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 7, 2018 a true and correct copy of the
foregoing was filed using the Northern District Clerk’s EM/ECF filing system
which will generate an automated email notice and service copy to record counsel
below:

Amit Agarwal, Amit.Agarwal@myfloridalegal.com
Edward M. Wenger, Edward.Wenger@myfloridalegal.com
Office of the Attorney General
The Capitol, PL-01
Tallahassee, FL 32399

Attorneys for Defendants

                                    s/ Kenneth Sukhia
                                    Kenneth W. Sukhia




                                      13
